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          EXHIBIT 12
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NOTES TO CONSOLIDATED FINANCIAL STATEMENTS

1.      GENERAL INFORMATION
The Wirtualna Polska Holding SA Capital Group (“the Group”, “the Capital Group”, “Wirtualna Polska Holding Group”) is
composed of Wirtualna Polska Holding SA (“the Company”, "the Parent Company”, "Wirtualna Polska Holding”) and its
subsidiaries. Wirtualna Polska Holding SA is the ultimate parent company.
As of 31 December 2019 Wirtualna Polska Holding Capital Group composed of the Parent Company and 12 consolidated
subsidiaries.
Wirtualna Polska Holding and the remaining Capital Group’s companies were formed for an indefinite period. The Group’s
core operations comprise sale of advertising services on the Internet and operating Internet portals such as WP.pl, o2.pl,
pudelek.pl, money.pl, abcZdrowie.pl, aggregators such as Domodi.pl, wakacje.pl, nocowanie.pl, eholiday.pl,
superauto24.com or extradom.pl, as well as providing electronic services (WP e-mail, o2 e-mail). The Group operates
mainly on the Internet.
The Parent Company was registered in Poland and its seat is in Warsaw at Żwirki i Wigury 16.
Both in the current and the previous financial year, the Company and the Group did not change their names.

2.      SUMMARY OF SIGNIFICANT ACCOUNTING POLICIES
The principal accounting policies applied in the preparation of these consolidated financial statements are set out below.
The policies were applied in all the periods presented on a consistent basis, unless otherwise stated.


BASIS OF PREPARATION
The consolidated financial statements of the Wirtualna Polska Holding Group have been prepared in accordance with the
International Financial Reporting Standards as adopted by the European Union (IFRS), in order to fulfil the requirements of
art. 55 sec.1 of the accounting act dated 29 September 1994 (“Accounting act” – Journals of Laws from 2019, item 351 with
later amendments).
These financial statements have been prepared in accordance with IFRS standards which are binding in the European
Union in the financial year ending 31 December 2020.
The consolidated financial statements have been prepared on the historical cost basis.
The consolidated financial statements have been prepared on the assumption that the Group will continue as a going
concern for at least 12 months from the date of preparing these consolidated financial statements.



NEW AND AMENDED STANDARDS AND INTERPRETATIONS

In these consolidated financial statements, the following standards, which came into force on 1 January 200, were applied
for the first time:

IFRS 3 "Business Combinations"

As a result of the amendment to IFRS 3, the definition of "a business" was modified. The currently introduced definition has
been narrowed down and is likely to result in more acquisitions being classified as acquisitions of assets.

Amendments to IFRS 9, IAS 39 and IFRS 7 related to the IBOR reform

Amendments to IFRS 9, IAS 39 and IFRS 7, published in 2019, modify some of the detailed requirements for hedge
accounting, mainly so that the expected reform of the reference rates (IBOR reform) would generally not result in the end
of hedge accounting.



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The accompanying notes are an integral part of these consolidated financial statements
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IAS 1 "Presentation of Financial Statements" and IAS 8 "Accounting Policies, Changes in Accounting Estimates and
Errors"

The Council has published a new definition of the term "materiality". Amendments to IAS 1 and IAS 8 clarify the definition
of materiality and increase consistency between the standards, but it is not expected that they will have a significant
impact on the preparation of financial statements.

Amendments to the Conceptual Framework in IFRS

In 2019, amendments to the IFRS Framework were published, which are effective as of January 1, 2020. The Revised
Framework is used by the Board and the Interpretation Committee in developing new standards. Nevertheless, preparers
of financial statements may use the Conceptual Framework to develop accounting policies for transactions that are not
regulated under current IFRS.

In these consolidated financial statements, the Group decided for no early adoption of any published standards,
interpretations or amendments not yet in force.


CONSOLIDATION
          SUBSIDIARIES
Subsidiaries are all entities over which the Group exercises control. The Group controls an entity when it is exposed, or has
rights, to variable returns from its involvement with the investee and has the ability to affect those returns through its
power over the investee. Subsidiaries are fully consolidated from the date on which control is transferred to the Group.
Consolidation is discontinued from the date control ceases.
The Group accounts for business combinations under the purchase method. The consideration made for acquisition of a
subsidiary is the fair value of the assets given to and liabilities incurred towards former owners of the acquiree and equity
instruments issued by the Group. The consideration made comprises the fair value of assets or liabilities resulting from
contingent consideration arrangements. Identifiable assets acquired and liabilities and contingent liabilities assumed in a
business combination are measured initially at their fair values at the acquisition date. Potential contingent consideration
to be transferred by the Group is carried at fair value at the acquisition date. Subsequent fair value changes of the
contingent consideration, which has been classified as a financial asset or liability, are recognised in accordance with IFRS 9
in equity or in profit or loss. Contingent consideration which classifies as equity is not subject to revaluation and its
subsequent payment is accounted for in equity. Identifiable assets and liabilities of an acquiree are measured at fair value at
the date of acquiring control. The Group carries non-controlling interests either at fair value or at the proportionate share in
fair value of identifiable net assets; the choice is made separately for each acquisition.
The surplus of the sum of the consideration made, the value of all non-controlling interests in the acquiree and the fair value
of the previously held equity interests in the acquire as of the date of acquisition, over the fair value of the identifiable net
assets acquired is recorded as goodwill. If the entire consideration made, identified non-controlling interests and previously
held interests is less than the fair value of the net assets of a subsidiary acquired under a bargain purchase, the difference is
recognised directly in profit or loss.
Transaction costs are charged to profit or loss when incurred.
Intragroup transactions and settlements and unrealised gains on transactions concluded between group companies are
eliminated. Unrealised losses are also eliminated. Where necessary, the amounts reported by the subsidiaries are adjusted
so that they comply with the Group’s accounting policies.
          NON-CONTROLLING INTERESTS AND TRANSACTIONS WITH NON-CONTROLLING SHAREHOLDERS
Non-controlling interests comprise shares in companies covered by consolidation not owned by the Group. The Group
measures all non-controlling interests in an acquiree at the proportionate share (corresponding to the non-controlling
interest) in net identifiable assets of the acquiree or at fair value. Non-controlling interests identified in net assets of the
consolidated subsidiaries are recorded separately from the ownership interest of the Parent Company in these net assets.
Non-controlling interests in net assets include:
(i) the value of non-controlling interests at the initial business combination date, calculated in line with IFRS 3; and
(ii) changes in equity attributable to non-controlling interests starting from the date of the business combination.
                                                                                                                               9
The accompanying notes are an integral part of these consolidated financial statements
